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 6 United States of America
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:10-CR-00347-MCD
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          FINDINGS AND ORDER
14   RAMIRO GARCIA,                                     DATE: May 1, 2014
                                                        TIME: 9:00 a.m.
15                                                      COURT: Hon. Morrison C. England, Jr.
                                  Defendant.
16
17
18                                               STIPULATION

19          1.     By previous order, this matter was set for status on May 1, 2014.

20          2.     By this stipulation, defendant now moves to continue the status conference and set the

21 matter for a Change of Plea hearing on June 12, 2014, and to exclude time between May 1, 2014, and
22 June 12, 2014, under Local Code T4.
23          3.     The parties agree and stipulate, and request that the Court find the following:

24                 a)      The government has represented that the discovery associated with this case is

25          voluminous based on the fact that this case stems from a criminal wiretap investigation. All of

26          this discovery has been either produced directly to counsel and/or made available for inspection

27          and copying.

28                 b)      Counsel for defendant desires additional time consult with his client, continue his

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND    1
      ORDER
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 1          review of the evidence and defense investigation, and discuss potential resolution with his client.

 2                  c)      Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                  d)      The government does not object to the continuance.

 6                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of May 1, 2014 to June 12, 2014,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendants’ request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
17 must commence.
18          IT IS SO STIPULATED.

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       STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     2
       ORDER
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     Dated: April 25, 2014                                 BENJAMIN B. WAGNER
 1                                                         United States Attorney
 2
                                                           /s/ JUSTIN L. LEE
 3                                                         JUSTIN L. LEE
                                                           Assistant United States Attorney
 4
 5
     Dated: April 25, 2014                                 /s/ CHRIS COSCA
 6                                                         CHRIS COSCA
 7                                                         Counsel for Defendant
                                                           Ramiro Garcia
 8
 9
10                                          FINDINGS AND ORDER

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12         IT IS SO FOUND AND ORDERED.

13 Dated: April 29, 2014
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND   3
      ORDER
